Case 2:10-cr-20162-RHC-VMM ECF No. 105, PageID.406 Filed 08/14/13 Page 1 of 1




                                           UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                          Plaintiff,
                                                                               Case No. 10-CR-20162-3-DT
v.                                                                                      13-CV-12521-DT


BARRON HILL,

                          Defendant.
                                                                 /

                                    ORDER CLOSING CASE IN LIEU OF JUDGMENT

             In accordance with the court’s “ Order Granting Defendant’s Motion to Vacate

Sentence under 28 U.S.C. § 2255’ entered on August 14, 2014,”

             IT IS ORDERED that the Clerk of the Court close this case.1

                                                                      S/Robert H. Cleland
                                                                     ROBERT H. CLELAND
                                                                     UNITED STATES DISTRICT JUDGE
Dated: August 14, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 14, 2013, by electronic and/or ordinary mail.

                                                                      S/Lisa G. Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522.




             1
        The Federal Rules of Civil Procedure require that “[e]very judgment and
amended judgment must be set forth on a separate document.” Fed. R. Civ. P.
58(a)(1). This order constitutes such a separate document, and no other “judgment” will
be filed.

S:\Cleland\LISA\Criminal\Order closing case in lieu of jgm.wpd
